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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
VITA 4 LIFE, INC.,

                    Plaintiff,                                 Case No. 17-cv-11435
v.                                                             Hon. Denise J. Casper


CYNOSURE, INC.,

                    Defendant.

               MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT

       NOW COMES Attorney, Yesha Hoeppner, and hereby requests that this Honorable Court

enter an Order granting her leave to withdraw as counsel for Defendant, Cynosure, Inc.

(hereinafter, “Defendant”). In support thereof, Attorney Hoeppner states:

       1.       On September 26, 2017, Yesha Hoeppner was granted leave to appear, pro hac

vice, as counsel for Defendant, Cynosure, Inc., in this matter. (Dkt. #29).

       2.       Yesha Hoeppner’s appearance in this matter is no longer required.

       3.       Granting the instant motion will not cause prejudice to the Court or to any party,

and Defendant will have legal representation at all times in this matter from other attorneys

affiliated with SmithAmundsen LLC and Arnold & Porter.

       WHEREFORE, Attorney, Yesha Hoeppner, respectfully requests that this Honorable

Court enter an Order granting her leave to withdraw as counsel for Defendant, Cynosure, Inc.



Date: February 2, 2018

                                                     Respectfully submitted,

                                             By:   /s/ Yesha Hoeppner
                                             Counsel for Defendant, CYNOSURE, INC.
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                             CERTIFICATE OF SERVICE

       The undersigned certifies that on February 2, 2018, a true and correct copy of the
foregoing Motion to Withdraw as Counsel for Defendant was filed with the Clerk of Court
and served upon all attorneys of record via the Court’s CM/ECF system.

Dated: February 2, 2018

                                                             /s/ Yesha Hoeppner




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